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                          IN THE UNITED STATES DISTRICT COURT FOR THE
                                   DISTRICT OF MASSACHUSETTS



David Anderson,

                          Plaintiff,
v.                                                             1:19-cv-12283-PBS

Computer Sciences Corporation
DXC Technology Services LLC                           JOINT STATEMENT REGARDING
H.C. Charles Diao                                         PRETRIAL SCHEDULE
JOHN MICHAEL LAWRIE
                 Defendants.


       The parties submit this Joint Statement (“Statement”) pursuant to Local Rule 16.1 of the
United States District Court for the District of Massachusetts and the Court's Notice of
Scheduling Conference, which is set for December 4, 2019 at 2:30 pm.
     I.   PRETRIAL SCHEDULE AND DISCOVERY PLAN
    On November 6, 2019, this case was removed to this Court. Computer Sciences Corporation
(“CSC”) and DXC Technology Services LLC (“DXC”) will be filing their Answers to Plaintiff’s
Complaint on December 4, 2019. ECF Doc. 6. Undersigned counsel for CSC and DXC will be
representing H.C. Charles Diao and John Michael Lawrie and has agreed to waive and accept
service on their behalf. The parties agree on and request that the Court approve the following
proposed Pretrial Schedule and Discovery Plan:
Task                                          Due within ___ days of Initial Case
                                              Management Conference
Initial Disclosures by Plaintiff, DXC and CSC 14 days
Initial Disclosures by Lawrie and Diao        100 days
Amendments to Pleadings                       110 days
Requests for production of documents and      45 days
interrogatories for Phase 1 discovery between
Plaintiff and CSC/DXC must be served by
Requests for production of documents and      120 days
interrogatories for Phase 2 discovery must be
served by
Requests for admission must be served         200 days
Depositions, other than expert discovery must 210 days
be completed
All discovery, other than expert discovery,   240 days
must be completed



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Status Conference                                 TBD by court
Plaintiff(s)’ trial experts must be designated,   270 days
and the information contemplated by Fed. R.
Civ. P. 26(a)(2) by

Defendant(s)’ trial experts must be               300 days
designated, and the information contemplated
by Fed. R. Civ. P. 26(a)(2) by

Expert depositions concluded by                   330 days

Dispositive motions, such as motions for          350 days
summary judgment or partial summary
judgment and motions for judgment on the
pleadings, must be filed by

Pretrial Conference                               TBD by Court



 II.     II. PENDING MOTIONS
There are no pending Motions at the time of the filing of this Statement, but the parties anticipate
filing a Motion for Entry of a Protective Order before or shortly after the Scheduling Conference.
In addition, Plaintiff will not be pursuing his Fair Labor Standards Act claim, which the parties
will also be addressing shortly.
III.     III. AGENDA OF ITEMS TO DISCUSS
Service of Process: Undersigned counsel for CSC and DXC will be representing Mr. Diao and
Mr. Lawrie and has agreed to waive and accept service. That process is underway.
Bifurcated discovery: The parties will conduct two phases of discovery. During the first phase,
the parties will gather documents essential to making an initial assessment of Plaintiff’s wage
and breach of contract claims. Discovery requests during this phase will only involve Plaintiff
and CSC and DXC. During the second phase, the parties will conduct the remaining discovery
that is needed for trial, including taking depositions.
Timing and availability of court sponsored mediation
IV.      III. TRIAL BY MAGISTRATE JUDGE
The parties do not consent to trial by a magistrate judge.
 V.      IV. CERTIFICATIONS UNDER LOCAL RULE 16.1(D)(3)
The parties’ each separately certify as by required by Local Rule 16.1(D)(3) that
party's counsel have conferred (a) with a view to establishing a budget for the costs of
conducting the full course—and various alternative courses--of the litigation; and (b) to consider


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the resolution of the litigation through the use of alternative dispute resolution programs such as
those outlined in Local Rule 16.4.
        WHEREFORE, the parties respectfully request that the Court approve their Proposed
Pretrial Schedule and Discovery Plan, with such amendments as the Court deems just and proper.
Respectfully submitted,
                                    [Signature Page Follows]




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                               CERTIFICATE OF SERVICE

        The undersigned counsel for the Defendants hereby certifies that a true and correct copy
of the foregoing document was filed with the Court and served electronically through the CM-
ECF (Electronic Case Filing) system to all counsel of record to those registered to receive a
Notice of Electronic Filing for this case.

DATED: November 26, 2019


                                                 /s/ Charles E. Grell

                                                 Charles E. Grell




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